




02-11-248-CR









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


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NO. 02-11-00248-CR

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  Jackie Loraine Stokes 
  a/k/a Jackie L. Stokes
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  The State of Texas
  
  
  &nbsp;
  
  
  STATE
  
 


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FROM THE 432nd
District Court OF Tarrant COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
have considered appellant’s “Amended Waiver Of Appeal.”&nbsp; The motion complies
with rule 42.2(a) of the rules of appellate procedure.&nbsp; Tex. R. App. P. 42.2(a).&nbsp; No decision of this
court having been delivered before we received this motion, we grant the motion
and dismiss the appeal.&nbsp; See Tex. R. App. P. 42.2(a), 43.2(f).

&nbsp;

PER
CURIAM

PANEL:&nbsp; MCCOY, MEIER, and GABRIEL, JJ.

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DO NOT PUBLISH

Tex. R. App.
P. 47.2(b)

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DELIVERED:&nbsp; February 9, 2012

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[1]See
Tex. R. App. P. 47.4.







